Case: 1:05-cv-00236 Document #: 1 Filed: 01/13/05 Page 1 of 16 PagelD #:1

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IN THE UNITED STATES DISTRICT COURT a
FOR THE NORTHERN DISTRICT OF ILLINOIS 5 JAN [3 py ys oc
EASTERN DIVISION oe

  

 

 

DAVID ROTH, On Behalf of Himself and All ) In
Others Similarly Situated, )
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Plaintiff, ) GOTT
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¥S. )
OFFICEMAX INC., CHRISTOPHER C.
MILLIKEN and THEODORE CRUMLEY, MASS RATE Popo 1D DaNLOW
Defendants. JURY TRIAL DEMANDED
2 DOCKETED
JAN 1 4 2005
CLASS ACTION COMPLAINT FOR
VIOLATION OF THE FEDERAL SECURITIES LAWS
SUMMARY AND OVERVIEW
1. This is a securities class action on behalf of all purchasers of the publicly traded

securities of OfficeMax Inc. (“OfficeMax” or the “Company”) between November 9, 2004 and
January 11, 2005 (the “Class Period’), against OfficeMax and certain of its officers and directors for
violations of the Securities Exchange Act of 1934 (the “1934 Act”).

2. OfficeMax, formerly Boise Cascade Corporation, is a multinational contract and retail
distributor of office supplies and paper, technology products and office furniture.

3. During the Class Period, defendants made false and misleading statements regarding
the Company’s earnings. The true facts, which were known by each of the defendants but concealed
from the investing public during the Class Period, were as follows:

(a) that for a period of at least two years, millions of dollars worth of the

Company’s sales were fraudulently booked as legitimate sales;

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(b) that the Company was using (and manipulating its use of) “vendor
allowances”’ in order to manipulate the Company’s earnings and timing of revenue recognition;

(c) that the Company’s Q4 2004 results and those beyond were being eroded by
the Company’s internal investigation costs and the halting of the Company’s abusive vendor
allowance scheme;

(d) that the Company lacked the necessary internal controls to insure all revenue
reported complied with generally accepted accounting principles (“GAAP”); and

(e) that the Company had entered into a long term-paper supply contract with
Boise Cascade, LLC ~ the Company’s timber successor company — which, unbeknownst to
investors, was not commensurate with the market rate.

4, As a result of the defendants’ false statements, OfficeMax’s stock price traded at
inflated levels during the Class Period, increasing to as high as $32.52 on December 16, 2004,
whereby the Company’s top officers and directors arranged to sell nearly $1.5 billion worth of the
Company’s notes.

JURISDICTION AND VENUE

5. Jurisdiction is conferred by §21 of the 1934 Act. The claims asserted herein arise
under §§10(b) and 20(a) of the 1934 Act and Rule 10b-5.

6. Venue is proper in this District pursuant to §21 of the 1934 Act. Many of the false
and misleading statements were made in or issued from this District.

7. The Company’s principal executive offices are in Itasca, Illinois, where the day-to-

day operations of the Company are directed and managed.

 

' Vendor allowances are monies paid by suppliers for promotions, prime shelf space, discounts and

rebates.
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THE PARTIES
Plaintiff

8. David Roth purchased OfficeMax publicly traded securities as described in the
attached certification and was damaged thereby.
Defendants

9. OfficeMax, formerly Boise Cascade Corporation, is a multinational contract and retail
distributor of office supplies and paper, technology products and office furniture.

10. Christopher C. Milliken (“Milliken”) was the President, CEO and a director of
OfficeMax. During the Class Period, Milliken signed the false and misleading Form 10-Q.

11. Theodore Crumley (“Crumley”) was the CFO of OfficeMax. During the Class
Period, Crumley signed the false and misleading Form 10-Q.

12. The individuals named as defendants in [10-11 are referred to herein as the
“Individual Defendants.” The Individual Defendants, because of their positions with the Company,
possessed the power and authority to control the contents of OfficeMax’s quarterly reports, press
releases and presentations to securities analysts, money and portfolio managers and institutional
investors, i.e., the market. Each defendant was provided with copies of the Company’s reports and
press releases alleged herein to be misleading prior to or shortly after their issuance and had the
ability and opportunity to prevent their issuance or cause them to be corrected. Because of their
positions and access to material non-public information available to them but not to the public, each
of these defendants knew that the adverse facts specified herein had not been disclosed to and were
being concealed from the public and that the positive representations which were being made were
then materially false and misleading. The Individual Defendants are liable for the false statements
pleaded herein at 417, 21-22, as those statements were each “group-published” information, the

result of the collective actions of the Individual Defendants.

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13. In addition to the above-described involvement, each Individual Defendant had
knowledge of OfficeMax’s problems and was motivated to conceal such problems. Crumley, as
CFO, was responsible for financial reporting and communications with the market. Many of the
internal reports showing OfficeMax’s forecasted and actual growth were prepared by the finance
department under Crumley’s direction. Defendant Milliken, as CEO and President, was responsible
for the financial results and press releases issued by the Company. Each Individual Defendant
sought to demonstrate that he could lead the Company successfully and generate the growth
expected by the market.

14. Defendants were motivated to engage in the fraudulent practices alleged herein in
order to obtain financing for the Company and prove to the market the Company could operate
profitably without its timber division.

FRAUDULENT SCHEME AND COURSE OF BUSINESS

15. Each defendant is liable for (i) making false statements, or (ii) failing to disclose
adverse facts known to him about OfficeMax. Defendants’ fraudulent scheme and course of
business that operated as a fraud or deceit on purchasers of OfficeMax publicly traded securities was
a success, as it (i) deceived the investing public regarding OfficeMax’s prospects and business; (ii)
artificially inflated the prices of OfficeMax’s publicly traded securities; (iii) allowed defendants to
arrange to sell $1.5 billion worth of OfficeMax notes at artificially inflated prices (with preferential
interest rates to the Company); and (v) caused plaintiff and other members of the Class to purchase

OfficeMax publicly traded securities at inflated prices.
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BACKGROUND

16. The Boise Cascade Corporation bought OfficeMax in 2003 for about $1.06 billion
and in October 2004, completed the sale of paper and timberland assets for $3.7 billion. In
November, the Company adopted the “OfficeMax” name.

DEFENDANTS’ FALSE AND MISLEADING
STATEMENTS ISSUED DURING THE CLASS PERIOD

17, On November 9, 2004, the Company filed its Form 10-Q for the period ended
September 30, 2004. The 10-Q was signed by defendants Milliken as CEO and Crumley as CFO, In
the 10-Q, defendants claimed that they personally supervised the evaluation of the design and
operation of the Company’s disclosure procedures pursuant to Rule 13a-15(e), to ensure that the
Company’s controls would alert them to material information which would conflict with GAAP
and/or require disclosure. Defendants affirmatively stated on November 9, 2004 that no such
disclosure issues or control problems existed.

18. On November 11, 2004, two days after the November 9, 2004 10-Q was filed,
Bloomberg issued an article entitled “OfficeMax Hires Anderson as Chief Financial Officer.” The
article stated in part:

OfficeMax, Inc., the office supply retailer that was acquired by Boise Cascade Corp.

in December, named Brian Anderson chief financial officer and executive vice

president of finance.

19. Defendant Crumley immediately resigned as the Company was preparing to sell
nearly $1.5 billion worth of OfficeMax debt.

20. On December 17, 2004, Bloomberg issued an article entitled “OfficeMax Sells $1.47

Bln in Debt, Due October 2019.” The article stated in part:

OfficeMax Inc., the U.S. office-supply retailer acquired by Boise Cascade Corp., said
it will sell $1.47 billion in debt.
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The debt, to be issued in two notes with interest rates of 5.42 percent and 5.54
percent, respectively, will be payable in October 2019, the Itasca, Illinois-based [sic]
said in a filing with the U.S, Securities and Exchange Commission.

The company also settled $1.47 billion in interest-rate swaps with Goldman Sachs
Group Inc. unit J. Aron & Co. Dec, 16, paying $19 million to J. Aron, because of a
decline in long-term interest rates, OfficeMax said in the filing.

21. On December 20, 2004, the Company issued a press release entitled “OfficeMax
Announces Financial Events, Commences Investigation.” The press release stated in part:

OfficeMax® Incorporated, a leader in office products and services, today announced
monetization of the promissory notes received from the sale of its tmberlands and
the distribution of OMX common stock to holders of its Adjustable Conversion-Rate
Equity Security (ACES) units. The company also announced it has commenced an
investigation into certain vendor allegations, and that it is postponing a decision on
the form and timing of equity repurchases until the investigation is complete.

On October 29, 2004, OfficeMax closed the sale of its paper and forest products
businesses. At that time, the company received $2.025 billion in cash for the assets
sold, and an additional $15 million in cash and promissory notes of $1.635 billion for
the timberlands portion of the sale. On December 21, 2004, the company will realize
$1.470 billion in cash, before transaction expenses and related costs, from the
monetization of those notes, In addition to $15 million received at closing and
$1.470 billion realized from the monetization, the company will retain a residual
interest in timber promissory notes of $165 million due in 2019,

On December 16, 2004, holders of OfficeMax’s outstanding 7.50% equity security
units received 5.41 million newly issued shares of OMX common stock in exchange
for cash proceeds to OMX of $172.5 million. The settlement rate was 1.5689 shares
of OMX common stock for each purchase contract forming a part of the $50 stated
amount of each equity security unit. Following the conversion, OfficeMax has
approximately 95 million fully diluted shares of common stock.

OfficeMax intends to use the proceeds from monetization of the timber promissory
notes and conversion of the equity security units to continue its debt reduction
program and to repurchase between $775 million and $815 million of its common
stock. However, at the direction of the audit committee of its board of directors,
the company has commenced an internal investigation into claims by a vendor to
its retail business that certain employees acted inappropriately in requesting
promotional payments and in falsifying supporting documentation for
approximately $3.3 million in claims billed to the vendor by OfficeMax during
2003 and 2004. Because the company's investigation has only recently begun, the
company is postponing a decision as to the form and timing of share repurchases
until the investigation is complete.
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22.

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On January 5, 2005, the Company issued a press release entitled “OfficeMax

Announces Peterson Resignation.” The article stated in part:

OfficeMax® Incorporated, a leader in office products and services, today announced
the resignation of Gary Peterson, president of the company’s retail division, effective
immediately. The company noted that the tuming of Mr. Peterson’s departure is
unrelated to the company’s current investigation into allegations of impropriety
regarding vendor promotional payments.

23. OnJanuary 12,2005, CBSMarketWatch issued an article entitled “OfficeMax delays

earings report; CFO quits.” The article stated in part:

Office Max Inc. said Wednesday it will postpone the release of its fourth-quarter and
full-year earnings reports, pending the conclusion of a now-expanded probe into an
accounting fraud.

In addition, the company said Chief Financial Officer Brain Anderson resigned after
two months on the job. Former CFO Ted Crumley will return to that post on an
interim basis, the company said.

OfficeMax, which first disclosed the investigation Dec. 20, said it has confirmed
claims by a vendor that certain employees created false documents to support about
$3.3 million in claims billed to a vendor in 2003 and 2004.

Four employees have been fired as a result of the investigation, the company said.

OfficeMax spokesman Bill Bonner said the company could not reveal the name of
the employees, or the vendor, as the investigation is still underway.

The Itasca, Ill.-based office products retailer said that as a result of information
discovered in its investigation, it has expanded the scope of the inquiry to include
accounting procedures for rebates and other vendor payments in fiscal 2003 and
2004.

OfficeMax said it expects to finish the probe by the third full-week of February, and
intends to proceed with its previously stated share repurchase program once fiscal
2004 results have been reported.

On Oct. 29, the company -- then known as Boise Cascade Corp. -- closed the sale of
its paper and forest products businesses and changed its name to OfficeMax, which it
purchased in 2002.

The company received $2.035 billion in cash for the assets sold, as well as an
additional $15 million in cash and promissory notes of $1.64 billion for the
timberlands portion of the sale.

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OfficeMax had intended to use part of the proceeds from the sale to buy back $775
million to $815 million of its common stock, as well as pay down some debt.

24. OfficeMax shares fell more than 5% to $28.58 in recent trading, after trading as low
as $27.82 earlier in the session,
25. The true facts, which were known by each of the defendants but concealed from the
investing public during the Class Period, were as follows:
(a) that for a period of at least two years, millions of dollars worth of the
Company’s sales were fraudulently booked as legitimate sales;
(b) that the Company was using (and manipulating its use of) “vendor

allowances”

in order to manipulate the Company’s earnings and timing of revenue recognition,
(c) that the Company’s Q4 2004 results and those beyond were being eroded by

the Company’s internal investigation costs and the halting of the Company’s abusive vendor
allowance scheme;

(d) that the Company lacked the necessary internal controls to insure all revenue
reported complied with GAAP; and

(e) that the Company had entered into a long-term paper supply contract with
Boise Cascade, LLC — the Company’s timber successor company — which, unbeknownst to

investors, was not commensurate with the market rate.

COUNT I

For Violation of §10(b) of the 1934 Act
and Rule 10b-5 Against All Defendants

26. Plaintiff incorporates {1-25 by reference.

 

Vendor allowances are monies paid by suppliers for promotions, prime shelf space, discounts and

rebates.
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27. During the Class Period, defendants disseminated or approved the false statements
specified above, which they knew or deliberately disregarded were misleading in that they contained
misrepresentations and failed to disclose material facts necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading.

28. Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

(a) Employed devices, schemes, and artifices to defraud;

(b) Made untrue statements of material facts or omitted to state material facts
necessary in order to make the statements made, in light of the circumstances under which they were
made, not misleading; or

(c) Engaged in acts, practices, and a course of business that operated as a fraud or
deceit upon plaintiff and others similarly situated in connection with their purchases of OfficeMax
publicly traded securities during the Class Period.

29. Plaintiff and the Class have suffered damages in that, in reliance on the integrity of
the market, they paid artificially inflated prices for OfficeMax publicly traded securities. Plaintiff
and the Class would not have purchased OfficeMax publicly traded securities at the prices they paid,
or at all, if they had been aware that the market prices had been artificially and falsely inflated by
defendants’ misleading statements.

30. Asa direct and proximate result of these defendants’ wrongful conduct, plaintiff and
the other members of the Class suffered damages in connection with their purchases of OfficeMax
publicly traded securities during the Class Period.

COUNT I

For Violation of §20(a) of the 1934 Act
Against All Defendants

31. Plaintiff incorporates {1-30 by reference.
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32. The Individual Defendants acted as controlling persons of OfficeMax within the
meaning of §20(a) of the 1934 Act. By reason of their positions as officers and/or directors of
OfficeMax, and their ownership of OfficeMax stock, the Individual Defendants had the power and
authority to cause OfficeMax to engage in the wrongful conduct complained of herein. OfficeMax
controlled each of the Individual Defendants and al] of its employees. By reason of such conduct,
the Individual Defendants and OfficeMax are liable pursuant to §20(a) of the 1934 Act.

CLASS ACTION ALLEGATIONS

33. Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules
of Civil Procedure on behalf of all persons who purchased OfficeMax publicly traded securities (the
“Class’”)} on the open market during the Class Period. Excluded from the Class are defendants.

34. The members of the Class are so numerous that joinder of all members is
impracticable. The disposition of their claims in a class action will provide substantial benefits to
the parties and the Court. OfficeMax had more than 88 million shares of stock outstanding, owned
by hundreds if not thousands of persons.

35. There is a well-defined community of interest in the questions of law and fact
involved in this case. Questions of law and fact common to the members of the Class which
predominate over questions which may affect individual Class members include:

(a) Whether the 1934 Act was violated by defendants;

(b) Whether defendants omitted and/or misrepresented material facts;

(c) Whether defendants’ statements omitted material facts necessary to make the
statements made, in light of the circumstances under which they were made, not misleading;

(d) Whether defendants knew or deliberately disregarded that their statements

were false and misleading;

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(e) Whether the prices of OfficeMax’s publicly traded securities were artificially
inflated; and

(f) The extent of damage sustained by Class members and the appropriate
measure of damages.

36. Plaintiff's claims are typical of those of the Class because plaintiff and the Class
sustained damages from defendants’ wrongful conduct.

37. Plaintiff will adequately protect the interests of the Class and has retained counsel
who are experienced in class action securities litigation. Plaintiff has no interests which conflict
with those of the Class.

38. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy.

PRAYER FOR RELIEF

WHEREFORE, plaintiff prays for judgment as follows:

A. Declaring this action to be a proper class action pursuant to FRCP 23;
B. Awarding plaintiff and the members of the Class damages, interest and costs; and
Cc. Awarding such equitable/injunctive or other relief as the Court may deem just and
proper.
JURY DEMAND

Plaintiff demands a trial by jury on all issues so triable.

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Dated: January 13, 2005

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DAVID ROTH, on behalf of himself and all others
similarly situated, Plaintiff

By: “EL 5 POL hv

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CERTIFICATION OF NAMED PLAINTIFF

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ability to shure in any recovery as ammenber of the class jp not deptndent upon execiaion of this Plaintiff
Certification. ,

4. "The following includes all of Plaintiff's transactions during the Class Perlod specified in the
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6 __Plalntift will not aces any payment for serving os a representative party on behalf of the class
beyond Plaintiff's pro rata share af any recovery, except such reasonable casts and expenses (Including
Jost wages} directly rolating to the representation of the class as ordered or approved bry the court

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Civil Cover Sheet

 

This automated J5-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The

information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required
by law. This form is authorized for use only in the Northern District of Illinois.

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Plaintiff(3): DAVID ROTH,
County of Residence: Palm Beach County

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‘Defendant(s):0 OFFICEMAX INC,, et al.,
County of Residence:

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Plaintiff's Atty: Miller Faucher and Cafferty Defendant's Atty: DOCKETED
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Chicago, Illinois 60602
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Il. Basis of Jurisdiction:

 

 

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Parties (Diversity Cases Only)
Plaintiff:- N/A

Defendant:- N/A
IV. Origin : 1. Original Proceeding
V. Nature of Suit: (50 Seeuriti / Commodities / Exchange
V1.Cause of Action: §§ 10(b) and 20(a), rule 10b-5

   
 

VII. Requested in Complain

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Once correct, print this form, sign and date il and submit it with your new civil action. Note: You may need to adjust the font size
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U. TED STATES DISTRICT COU “T
NORTHERN DISTRICT OF ILLINOIS

In the Matter of
DAVID ROTH,
Vv.

OFFICEMAX INC., et al.,

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS aH

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Case Number: UN pee

   

David Roth, individually and on behalf of all others similarly situated, Plaintiff

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NAME William S. Lerach

Name Marvin A. Miller

 

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*RM Miller Faucher and Cafferty LLP

 

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IDENTIFICATION NUMBER (SEE 'TEM 4 ON REVERSE)

IDENTIFICATION NUMBER (SEE ITEM 4 ON REVERSE} 01 91 6769

 

 

 

MEMBER OF TRIAL BAR? ves NO ne MEMBER OF TRIAL BAR? YES Xx No
TRIAL ATTORNEY? YES oe NO O TRIAL ATTORNEY? YES x no []
DESIGNATED AS LOCAL COUNSEL? YES x no | 6]

 

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U. TED STATES DISTRICT COl .T
NORTHERN DISTRICT OF ILLINOIS

In the Matter of
DAVID ROTH, JOGS GOTTSCHALL

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APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY (S) FOR:

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David Roth, individually and on behalf of all others similarly situated, Plaintiff

      

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FIRM Lerach Coughlin Stoia Geller Rudman & Robbins LLP Firw ~~ Same as (B)
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